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                                                                    CHAPTER 13 PLAN
                                                            UNITED STATES BANKRUPTCY COURT
                                                            SOUTHERN DISTRICT OF MISSISSIPPI
                                                                                                              CASE NO.         17-01281

 Debtor Rosemary Miller Dunmore                  SS# xxx-xx-8052                              Median Income        Above            Below
 Address 263 Hwy 80 Apt 80 Vicksburg, MS 39180-0000

THIS PLAN DOES NOT ALLOW CLAIMS. Creditors must file a proof of claim to be paid under any plan that may
be confirmed. The treatment of ALL secured / priority debts must be provided for in this plan.

PAYMENT AND LENGTH OF PLAN
The plan period shall be for a period of 60 months, not to be less than 36 months for below median income debtor(s),
or less than 60 months for above median income debtor(s).

(A)         Debtor shall pay $ 550.00   per (monthly) to the Chapter 13 Trustee. Unless otherwise ordered by the Court, an
            Order directing payment shall be issued to Debtor’s employer at the following address:
                                            Vicksburg Warren School District
                                            P.O. Box 820065
                                            Vicksburg, MS 39182




PRIORITY CREDITORS.
Filed claims that are not disallowed to be paid in full or as ordered by the Court as follows:
Internal Revenue Service:                  $ 0.00                         @ 0.00                              /month
Mississippi Dept. of Revenue:              $ 0.00                         @ 0.00                              /month

DOMESTIC SUPPORT OBLIGATION DUE TO:
                                                                               -NONE-
 POST PETITION OBLIGATION: In the amount of $ per month beginning .
 To be paid    direct,            through payroll deduction, or                           through the plan.
                                                                                     -NONE-
 PRE-PETITION ARREARAGE: In the total amount of $ through shall be paid the amount of $ per month beginning
 To be paid        Direct           through payroll deduction             through the plan.

HOME MORTGAGES. All claims secured by real property which are to be paid through the plan shall be scheduled
below. Absent an objection by a party in interest, the plan will be amended consistent with the proof of claim filed herein,
subject to the start date for the continuing monthly mortgage payment proposed herein.
 MTG PMTS TO: BAYVIEW LOAN SERVICING                 BEGINNING June 2017         @$          255.00    PLAN DIRECT
                                   BAYVIEW LOAN
 MTG ARREARS TO: SERVICING                                           THROUGH   May 2017       $      5,800.00 @$            93.55 /MO*



MORTGAGE CLAIMS TO BE PAID IN FULL OVER PLAN TERM:
Creditor:         -NONE-              Approx. amt. due:                                                        Int. Rate:
Property Address:                     Are related taxes and/or insurance escrowed                               Yes               No

NON-MORTGAGE SECURED CLAIMS. Creditors that have filed claims that are not disallowed are to retain lien(s) under
11 U.S.C. 1325(a)(5)(B)(i)(I) until the payment of the debt determined as under non-bankruptcy law or discharge. Such
creditors shall be paid as secured claimants the sum set out below or pursuant to other order of the Court. The portion of
the claim not paid as secured shall be treated as a general unsecured claim.
                                                                                                              PAY VALUE
                                                    910*      APPROX.                              INT.          OR AMT.
 CREDITOR'S NAME           COLLATERAL               CLM      AMT. OWED              VALUE         RATE             OWED
 Mid-Atlantic              2006 Chevy Malibu         X            5,315.63         4,000.00       5.00%         Amt. Owed
*The column for "910 CLM" applies to both motor vehicles and "any other thing of value" as used in the "hanging
paragraph" of 11 U.S.C. § 1325


 Debtor's Initials          RD        Joint Debtor's Initials                                     CHAPTER 13 PLAN, PAGE 1 OF 2
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SPECIAL CLAIMANTS including, but not limited to, co-signed debts, abandonment of collateral, direct payments by
Debtor, etc. For all abandoned collateral Debtor will pay $0.00 on the secured portion of the debt. Where the proposal is
for payment, creditor must file a proof of claim to receive proposed payment.
                                                                                                              PROPOSED
 CREDITOR'S NAME                COLLATERAL                              APPROX. AMT. OWED                    TREATMENT
 -NONE-

STUDENT LOANS which are not subject to discharge pursuant to 11 U.S.C. §§ 523(a)(8) and 1328(c) are as follows
(such debts shall not be included in the general unsecured total):

 CREDITOR'S NAME                               APPROX. AMT. OWED                CONTRACTUAL MO. PMT.          PROPOSED TREATMENT
 -Dept of Ed/navient-                          12,744.00                                         Unknown Treat as Unsecured; Not
                                                                                                         attempting to discharge

SPECIAL PROVISIONS for all payments to be paid through the plan, including, but not limited to, adequate protection
payments: -NONE-

GENERAL UNSECURED DEBTS totaling approximately $ 8,382.65 . Such claims must be timely filed and not
disallowed to receive payment as follows:       IN FULL (100%) or 0 % (percent) MINIMUM, or a total distribution of
$     , with the Trustee to determine the percentage distribution. Those general unsecured claims not timely filed
shall be paid nothing, absent order of the Court.

 Total Attorney Fees Charged $ 3,400.00
 Attorney Fees Previously Paid $ 690.00
 Attorney fees to be paid in plan $                                  2,710.00

The payment of administrative costs and aforementioned attorney fees are to be paid pursuant to Court order and/or local
rules.

 Automobile Insurance Co/Agent                                                    Attorney for Debtor (Name/Address/Phone # / Email)
 All State                                                                        William W. Stover, Jr.
                                                                                  555 Tombigbee St. Ste 100
                                                                                  Jackson, MS 39201

 Telephone/Fax                                                                    Telephone/Fax 601-949-5000
                                                                                  Facsimile No.  601-510-9089
                                                                                  E-mail Address Wes@wesstover.com

 DATE: April 18, 2017                                    DEBTOR'S SIGNATURE            /s/ Rosemary Miller Dunmore
                                                         ATTORNEY'S SIGNATURE          /s/ William W. Stover, Jr.




 Effective: October 1, 2011                                                                       CHAPTER 13 PLAN, PAGE 2 OF 2
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